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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 TIMOTHY DEWAYNE WYATT,                           §
 #2007881                                         §
             Petitioner,                          §
                                                  §    No. 3:20-cv-03401-N (BT)
 v.                                               §
                                                  §
 K. BELT,                                         §
                    Respondent.                   §

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE

       After making an independent review of the pleadings, files and records in this case, and

the Findings, Conclusions, and Recommendation of the United States Magistrate Judge dated

October 27, 2022, the Court finds that the Findings and Recommendation of the Magistrate Judge

are correct, and they are accepted as the Findings, Conclusions, and Recommendation of the Court.

       IT IS, THEREFORE, ORDERED that the Findings, Conclusions, and Recommendation

of the United States Magistrate Judge are accepted. Moreover, considering the record in this case

and pursuant to Federal Rule of Appellate Procedure 22(b) and Rule 11(a) of the Rules Governing

Section 2254 Proceedings in the United States District Court, and 28 U.S.C. § 2253(c), the Court

DENIES a certificate of appealability. The Court adopts and incorporates by reference the

Magistrate Judge’s Findings, Conclusions and Recommendation filed in this case in support of its

finding that Petitioner has failed to show that (1) reasonable jurists would find this Court’s

“assessment of the constitutional claims debatable or wrong,” or (2) reasonable jurists would find

“it debatable whether the petition states a valid claim of the denial of a constitutional right” and

“debatable whether [this Court] was correct in its procedural ruling.” Slack v. McDaniel, 529 U.S.

473, 484 (2000).
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       On December 3, 2020, this Court granted Petitioner leave to proceed in forma pauperis.

His in forma pauperis status will carry over on appeal.


       SO ORDERED this 2nd day of December, 2022.


                                     ________________________________
                                     DAVID C. GODBEY
                                     CHIEF JUDGE




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